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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )                   4:06CR3023
                                            )
              V.                            )
                                            )
SHAWN TULL,                                 )                     ORDER
                                            )
                     Defendant.             )

        A physician (Dr. Bellah) with the Bureau of Prisons called me today to report a delay
in the evaluation of Mr. Tull. The physician reported that a “waking EEG” was conducted
to assess Mr. Tull’s alleged seizure problems, but that a “sleeping EEG” was also required.
The physician advised me that it may take up to 90 days to complete the evaluation. I
authorized the physician to take such time as might be reasonably required. Accordingly,

       IT IS ORDERED that the parties are advised that the evaluation may be delayed for
up to 90 days and my chambers shall call this case to my attention on or about October 29,
2007.

       July 24, 2007.                     BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
